Case: 1:19-cv-06587 Document #: 283 Filed: 10/08/24 Page 1 of 1 PageID #:11702

                    UNITED STATES DISTRICT COURT
          FOR THE Northern District of Illinois − CM/ECF NextGen 1.7.1.2
                               Eastern Division

Abbott Laboratories
                                             Plaintiff,
v.                                                           Case No.: 1:19−cv−06587
                                                             Honorable Sara L. Ellis
Grifols Diagnostic Solutions Inc., et al.
                                             Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Tuesday, October 8, 2024:


       MINUTE entry before the Honorable Sara L. Ellis: Defendants to serve revised
opening report on damages by October 9, 2024. Abbott to serve revised rebuttal report on
damages by November 1, 2024. Deadline to complete depositions of damages experts by
November 13, 2024. Daubert deadline on damages opinions due by November 18, 2024.
Daubert response due by November 27, 2024. Daubert replies due by December 5, 2024.
Telephone Conference set for 1/23/2025 at 10:00 AM for ruling. Mailed notice(rj, )




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